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                                                                                            E-FILED
                                                               Wednesday, 07 June, 2017 02:46:40 PM
                                                                       Clerk, U.S. District Court, ILCD

                     IN THE UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF ILLINOIS
                               URBANA DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
       Plaintiff,                                )
                                                 )
vs.                                              )
                                                 )
CORY SANFORD,                                    )
                                                 )
       Defendant.                                )      Case No. 16-cr-20082

            DEFENDANT’S MEMORANDUM OF LAW IN SUPPORT OF HIS
                       MOTION FOR FRANKS HEARING

       NOW COMES the Defendant, CORY SANFORD, by and through his attorney,

ELISABETH R. POLLOCK of the Federal Defender’s Office for the Central District of

Illinois, and for his Memorandum of Law in Support of the Motion for Franks Hearing

states as follows:

I.     Factual Background

       A.     Execution of the search warrant

       On September 27, 2016, at approximately 3:50 a.m., Officer Ben Stringer of the

Danville Police Department appeared before Judge Mark Goodwin of the Vermilion

County Circuit Court and requested a no-knock search warrant for Cory Sanford’s

residence located at 608 North Logan Street in Danville, Illinois. After listening to the

testimony of Officer Stringer and witness Jane Doe, Judge Goodwin approved the

search warrant. At approximately 5:00 a.m., Danville Police officers executed the

warrant. Mr. Sanford and his girlfriend, Mardi Cunningham, were removed from the
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residence prior to the search. The search yielded 26.1 grams of heroin, a handgun.

ammunition, digital scales, and $1,745.00 in cash.

          The testimony taken in support of the search warrant application is as follows1:

first, Officer Stringer testified that at some unknown time prior to requesting the search

warrant, he saw a vehicle depart the driveway at 608 N. Logan in Danville. He

eventually, at an unknown time, pulled the vehicle over and searched it, discovering

several syringes and a small amount of crystal methamphetamine. The driver of the

vehicle was Jane Doe. When Jane Doe was interviewed (at an unknown location an

unknown time) she stated that she obtained the drugs at 608 N. Logan Street.

          Jane Doe also testified and claimed that she had been at the residence every day

for the past week. She stated that she had been at the residence at 6:00 p.m. on

September 26, 2016, at which time she traded a pint of Crown Royal and a pack of

Newport cigarettes for a small sack of heroin. Ms. Doe then testified that she returned to

the residence around 11:00 p.m. and traded beer, a doorbell, and alarm kit for more

heroin, which she used immediately. With respect to the methamphetamine found in

her vehicle, she claimed she bought it from a third party the previous evening while at

Mr. Sanford’s home. Jane Doe indicated that Mr. Sanford and his girlfriend lived at the

residence, and that he had a firearm in his possession because he was robbed two weeks




1
    No written affidavit was filed in support of the request for search warrant. All testimony heard in
support of the search warrant application was verbally conducted in the presence of a court
reporter and memorialized in a 13‐page transcript, which is attached hereto as Exhibit A.
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before. She claimed to have personally seen the firearm. She also claimed that Mr.

Sanford had a felony conviction.

       B.     Facts omitted and/or misrepresented by Officer Stringer and Jane Doe

       Jane Doe’s true identity is Ashley Hinkle, a/k/a Ashley Markham. (See Exhibit B

– Sworn Declaration of Ashley Hinkle) Ms. Hinkle states that she knows Mr. Sanford

from when she lived in Danville. On the evening of September 26, 2016, Ms. Hinkle was

at Cory Sanford’s residence located at 608 North Logan in Danville, Illinois. When she

left his house, she noticed a Danville police car following her. Eventually, Officer

Stringer of the Danville Police Department pulled her over and ended up searching her

vehicle. During the search, he and other officers located some syringes and a small

amount of methamphetamine. At the time that that Ms. Hinkle was pulled over, she

had an outstanding warrant for failing to appear in court in Vermilion County Case

Number 15-CM-397. (See Exhibit B and Exhibit C – Docket Sheet from 15-CM-397)

       Ms. Hinkle was transported to the Public Safety Building where she was

interviewed by Officer Stringer as well as other law enforcement officers, including Pat

Ablinger and Cory Benschneider. She states that she was told that if she did not

cooperate, she risked losing custody of her one-year old daughter. After she made her

statement, Officer Stringer took her to the courthouse to meet with a prosecutor. ASA

Pfohl and Officer Stringer told her that she had to repeat her earlier statement to a

judge. She was instructed to say that she had not been promised anything for testifying.

Ms. Hinkle initially believed that she would be charged with possession of drugs and

arrested on the outstanding warrant in 15-CM-397. However, when she asked Officer
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Stringer about that, he stated that she would not be charged with any new offenses, and

that the warrant would be taken care of. After Ms. Hinkle finished testifying, Officer

Stringer took her back to her car and allowed her to drive it home even though she did

not have a valid license. He also returned the syringes (with some heroin) to her at that

time, although the methamphetamine was confiscated. (Exhibit B)

       Three weeks later, on or about October 11, 2016, she was arrested on the

outstanding warrant. (Exhibit C) She states that she was very confused and surprised

because she believed that it had been taken care of after she testified about Cory

Sanford to the judge. (Exhibit B)

       A background check on Ms. Hinkle reveals an extensive criminal history in both

Illinois and Indiana. Her criminal convictions include the following: driving on a

suspended license (twice in Indiana in 2008), possession of a controlled substance (once

in Illinois in 2009 and once in Indiana in 2009), forgery (2009), theft (2009), and resisting

arrest (2012). She also has multiple additional criminal charges which resulted in nolle

pros decisions by the Vermilion County State’s Attorney, including theft (2009 and 2015)

and forgery (2010).

       During the testimony at the search warrant application, neither Officer Stringer

nor Ms. Hinkle mentioned her criminal history or the fact that she had an active

warrant at that time. Judge Goodwin independently asked if she had been threatened or

treated unfairly, to which she responded no. He also inquired whether any deals had

been made in exchange for her providing testimony, to which she responded no.

(Exhibit A)
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       It is clear from Ms. Hinkle’s Sworn Declaration and from her background check

that at the time of her testimony in this case, she had a lengthy criminal record as well

as an active warrant. This information was withheld from Judge Goodwin by both

Officer Stringer and Ms. Hinkle. She was not arrested on that warrant until almost three

weeks later and was never charged with the possession of methamphetamine or drug

paraphernalia that she admitted to having on her person that evening. Even more

surprising, she states that Officer Stringer returned drug syringes and heroin to her

possession and assured her that no criminal charges would result. He also assured her

that her pending warrant would be “taken care of.” (Exhibit B) None of these

agreements were disclosed to Judge Goodwin before he decided to issue the warrant.

(Exhibit A)

II.    Standard of Law

       To obtain a hearing pursuant to Franks v. Delaware, 438 U.S. 154 (1978), the

defendant must make a substantial preliminary showing of (1) a material falsity or

omission that would alter the probable cause determination, and (2) a deliberate or

reckless disregard for the truth. United States v. Glover, 755 F.3d 811, 819‐820 (7th Cir.

2014). In order to obtain a Franks hearing, the defendant need not overcome the courtʹs

speculation regarding an innocent explanation for the falsity or omission. While

reasonable explanations for the omission of the information might well exist, the

defendant need not disprove them before the Franks hearing itself. Id. at 820.
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III.   Argument

       A.      There was substantial relevant information withheld from the issuing
               judge which would have altered the probable cause determination in
               this case.

       The issuance of the search warrant in this case rests solely on the credibility of

Ms. Hinkle’s testimony. There was no independent evidence linking Mr. Sanford’s

residence to any form of illegal activity except for the statements made by her. When the

justification for a search warrant is based on an informant’s report, the question for the

Court to consider is that of the totality of the circumstances related to that report.

Glover, 755 F.3d at 816 (citing Illinois v. Gates, 462 U.S. 213, 238 (1983)). Reliability,

veracity, and the basis of knowledge of the informant are all “highly relevant,” but the

totality-of-the-circumstances approach means “a deficiency in one may be compensated

for ... by some other indicia of reliability.” Id. District courts look to five primary factors

in evaluating the totality of the circumstances: “the level of detail, the extent of

firsthand observation, the degree of corroboration, the time between the events

reported and the warrant application, and whether the informant appeared or testified

before the magistrate.” Id.

       In the present case, there was absolutely no corroboration of Jane Doe’s claims.

Corroboration by an officer’s independent investigation serves to support a finding of

reliability. United States v. Lloyd, 71 F.3d 1256, 1263 (7th Cir. 1995). In Lloyd, the informant

was deemed credible in part because the police drove by the defendant’s house with the

informant, confirmed the description of the residence, had the informant identify the

defendant in a photo lineup, and conducted a criminal background check of the
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defendant. Id. at 1259. In contrast to Lloyd, where there is no independent police

corroboration, even an informant’s appearance before the judge may not be enough to

justify issuing a search warrant. United States v. Peck, 317 F.3d 754, 756-57 (7th Cir. 2003).

       Officer Stringer never ran a background check on Mr. Sanford to verify his

criminal history, nor did he conduct a search for property records to link Mr. Sanford or

his girlfriend to the address to be searched. He also did not take Ms. Hinkle by the

house to confirm the location, nor did not have her identify Mr. Sanford from a lineup.

There were no other interviews conducted, no controlled buys conducted, and no

additional verification of Ms. Hinkle’s information.

       Additionally, there are extremely serious challenges to Ms. Hinkle’s credibility

that were wholly omitted from the testimony in support of the warrant. First, it was not

disclosed that she had several criminal convictions in two different jurisdictions under

two different names. Second, it was not disclosed that she had a pending arrest warrant

resulting from a theft case, a crime of dishonesty. Further, Ms. Hinkle was instructed to

state that she had received no promises or assurances regarding possible criminal

conduct from that evening, when in fact Officer Stringer and his colleagues did promise

her that she would not be charged and would not be arrested on her pending warrant.

These omissions and misrepresentations were clearly at least reckless, if not intentional.

       As the Seventh Circuit held in Glover, “the complete omission of information

regarding Doe’s credibility is insurmountable” and “undermines the deference” that

would normally be given to the magistrate’s decision to issue the warrant. Id. at 816.

Information about the informant's credibility or potential bias is crucial. Id. In the
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present case, not only did Ms. Hinkle’s entire criminal record and active arrest warrant

fail to make it in front of the issuing judge, Officer Stringer also utterly failed to discuss

other factors regarding her reliability, such as a) any past experience acting as a

confidential source or b) her prior uses of aliases. He did not even bother to claim that

she was reliable; perhaps he thought it unnecessary because she appeared in person

before Judge Goodwin. That appearance, however, does not remedy the problem that

multitudinous damaging and highly relevant facts were withheld from the issuing

judge.

         B.    The omissions and misrepresentations noted above require a Franks
               Hearing

         “To mandate an evidentiary hearing, the challenger's attack must be more than

conclusory and must be supported by more than a mere desire to cross-examine. There

must be allegations of deliberate falsehood or of reckless disregard for the truth, and

those allegations must be accompanied by an offer of proof. They should point out

specifically the portion of the warrant affidavit that is claimed to be false; and they

should be accompanied by a statement of supporting reasons.” Franks, 438 U.S. at 172.

In this case, the defense alleges that Officer Stringer either recklessly failed to do his job,

or alternatively, intentionally misled Judge Goodwin by failing to disclose Ms. Hinkle’s

lengthy criminal history and pending arrest warrant. He also instructed her to state that

she was receiving no benefits from testifying, when that is demonstrably false. The

Seventh Circuit has recognized that omitting credibility information is clearly material

to the probable cause determination. Glover, 755 F.3d at 820. In this case, Judge
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Goodwin never heard about Ms. Hinkle’s criminal record, that she had an active arrest

warrant at the time, or that she was assured that she would not be charged or arrested if

she testified; this is supported by the transcript of the hearing, the facts as stated above,

and the Exhibits attached hereto.

       “Only the inquiry into the officer's state of mind remains. To meet his burden on

that element, the defendant must offer direct evidence of the affiant's state of mind or

circumstantial evidence that the affiant had a subjective intent to deceive based on the

nature of the omissions.” Id. As a matter of common sense, obtaining direct evidence of

the officer’s state of mind is virtually impossible. However, credibility omissions do

provide sufficient circumstantial evidence to support a reasonable inference of reckless

disregard for the truth. Id. The issues of a) whether Officer Stringer recklessly

disregarded his knowledge of Ms. Hinkle’s credibility or intentionally omitted it, and b)

whether the good faith exception outlined in United States v. Leon, 468 U.S. 897 (1984),

should apply should only be determined after the Franks Hearing. Glover, 755 F.3d at

820.

       WHEREFORE, based on the foregoing, Defendant Cory Sanford respectfully

requests that the district court order a Franks Hearing to determine the validity of the

search warrant, and if the Court determines that the warrant was unlawfully issued, for

the suppression of all evidence discovered pursuant to the execution of the search

warrant.
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                                                 Respectfully submitted,
                                                 CORY SANFORD, Defendant

                                                 /s/ Elisabeth R. Pollock
                                                 Assistant Federal Public Defender
                                                 300 West Main Street
                                                 Urbana, IL 61801
                                                 (217) 373-0666
                                                 (217 373-0666 FAX
                                                 Elisabeth_Pollock@fd.org




                             CERTIFICATE OF SERVICE


      I hereby certify that on June 7, 2017, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system which will send notification of such filing to

Assistant United States Attorney Bryan Freres.


                                                 /s/ Elisabeth R. Pollock
                                                 Assistant Federal Public Defender
                                                 300 West Main Street
                                                 Urbana, IL 61801
                                                 (217) 373-0666
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              EXHIBIT B
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                           NOTICE: By clicking the 'Search' button below, or otherwise using the Judici.com website,


           2015CM397 HINKLE, ASHLEY N                                                     Last Search | Information | Dispositions | History | Payments | Fines & Fees
          Date         Entry                                                                                                                            Judge
          Entered Under: HINKLE, ASHLEY N
          02/07/2017 Check placed in the mail todays date.(bp)                                                                                          UNASSIGNED
          02/03/2017 Bond of $300.00 applied on 02/06/2017 with $270.00 refunded.                                                                       UNASSIGNED
          02/03/2017 This case nolle pros pursuant to plea. See docket entry on 17CM12.                                                                 DJG
          02/01/2017 Notice returned undeliverable and on file. (acm)                                                                                   UNASSIGNED
          01/31/2017 Motion/reduce bail set for 02/03/2017 at 2:30 in courtroom 1B.                                                                     UNASSIGNED
          01/31/2017 Motion for Reduction of Bail on file. Notice of hearing on file.                                                                   UNASSIGNED
          01/30/2017 Warrant returned and filed -- served 01/24/2017 (acm)                                                                              UNASSIGNED
          01/25/2017 Defendant present in custody via video after service of warrant. State present by Assistant State Attorney Van Fleet. Sworn DJG
                     testimony heard. Case reset for pretrial hearing and defendant given in court notice. Copy on file. Defendant remanded to
                     the custody of the sheriff in lieu of $10,000 (10%). Bond to cover cases 17CM12 & 15CM397. Defendant advised of in
                     absentia rights. Previous appointment of the Public Defender to stand. Defendant ordered to report to the PD office upon
                     release. Pre-trial set for 03/14/2017 at 8:30 in courtroom 1B. Notice of appearance sent to HINKLE, ASHLEY N. (acm)
          01/24/2017 Warrant issued on 01/24/2017 in the amount of $10,000 (10%) todays date, warrant to cover 17CM12 and 15CM397, copy UNASSIGNED
                     on file. A FTA OF $75 SHALL BE ASSESSED PURSUANT TO 725 ILCS 5/110-7(I)
          01/17/2017 Bond forfeiture set for 02/21/2017 at 8:30 in courtroom 1A.                                                                        UNASSIGNED
          01/17/2017 Case called for pretrial. State present by Assistant States Attorney Pfohl. Defendant fails to appear. State's motion for          DJG
                     warrant is allowed. Warrant to issue. Bond set at $10,000.00 (10%). Warrant to cover both 2015cm397 and 2017cm12.
                     Bond forfeiture to issue. Bond forteiture issued, copy on file. (DJC)
          11/29/2016 Pre-trial set for 01/17/2017 at 8:30 in courtroom 1B.                                                                              UNASSIGNED
          11/29/2016 Case called for pretrial. State present by Assistant State's Attorney Thomas Wiseman. Defendant in custody in fountain             DJG
                     county. Assistant Public Defender Salazar present. Defendant moves to continue. State has no objection. Motion allowed.
                     Case is reset, attorney Salazar given in court notice. Copy on file. (vmw)
          10/21/2016 Bond of $300.00 (10%) posted on 10/21/2016 with assignment to Tina Romine, 911 Spann Avenue, Crawfordsville, IN                    UNASSIGNED
                     47933. FTA FEE OF $75.00 PAID.
          10/14/2016 Warrant returned and filed -- served 10/11/2016 (acm)                                                                              UNASSIGNED
          10/12/2016 Pre-trial set for 11/29/2016 at 8:30 in courtroom 1B. Notice of appearance sent to HINKLE, ASHLEY N.                               UNASSIGNED
          10/12/2016 Defendant present in custody via video after service of warrant. State present by Assistant State's Attorney Thomas/Pfohl. DJG
                     Sworn testimony heard. Case reset for hearing and defendant given in court notice. Copy on file. Defendant remanded to
                     the custody of the sheriff in lieu of $3,000 10% Deft. advised of in absentia rights. Previous appointment of the Public
                     Defender to stand. Deft ordered to report to the PD office upon release.(gs)
          10/11/2016 FTA Warrant served on 10/11/2016.                                                                                                  UNASSIGNED
          08/08/2016 Warrant issued on 08/04/2016 in the amount of $3,000 (10%) todays date, copy on file. A FTA OF $75 SHALL BE                        UNASSIGNED
                     ASSESSED PURSUANT TO 725 ILCS 5/110-7(I)
          07/28/2016 Case called for pretrial. State present by ASA Tom Wiseman. Defendant fails to appear. Public Defender Salazar present.            DJG
                     Court orders warrant to issue in the amount of $3,000 (10%). (jnc)
          05/27/2016 Quash Order returned and on file. (acb)                                                                                            UNASSIGNED
          05/25/2016 QUASH ORDER ISSUED & ON FILE - ORIGINAL SENT & FAXED TO PSB THIS DATE. Quash order receipt filed.                                  UNASSIGNED
          05/25/2016 Case called for motion to quash. State present by Beth Pfohl. Defendant fails to appear. Public Defender Salazar present.          KEW
                     Defendant's motion to quash warrant is allowed over State's objection. Case is reset for pre-trial, Public Defender given in
                     court notice. Copy on file. Pre-trial set for 07/28/2016 at 8:30 in courtroom 1B.
          05/18/2016 Motion To Quash on file. Notice Of Hearing on file. Motion/quash reset to 05/25/2016 at 10:30 in courtroom 1B. (acb)               UNASSIGNED
          05/16/2016 Warrant issued on 05/16/2016 in the amount of $1,000 (10%) todays date, copy on file. A FTA OF $75 SHALL BE                        UNASSIGNED
                     ASSESSED PURSUANT TO 725 ILCS 5/110-7(I)
          05/03/2016 Case called for pretrial. State present by ASA Beth Pfohl. Defendant fails to appear. Public Defender Salazar present.             KEW
                     Court orders warrant to issue in the amount of $1,000 (10%).
          03/02/2016 Notice returned undeliverable and on file. (acb)                                                                                   UNASSIGNED
          02/26/2016 Pre-trial set for 05/03/2016 at 8:30 in courtroom 1B. Notice of appearance sent to HINKLE, ASHLEY N. Notice of                     UNASSIGNED
                     appearance sent to PD. Notice of appearance given to STATE'S ATTORNEY.
          02/25/2016 Due to the Courthouse being closed for inclement weather this case is rescheduled. Notice mailed to the deft. Copy on file. UNASSIGNED
                     Copy of notice forwarded to State's Attorney's office and Public Defender's office.
          12/21/2015 Pre-trial set for 02/24/2016 at 8:30 in courtroom 1B.                                                                              UNASSIGNED
          12/21/2015 Case called for pretrial. State present by ASA Tom Wiseman. Defendant present with PD Salazar. Defendant moves to                  KEW
                     continue. State has no objection. Motion allowed. Case is reset, defendant given in court notice. Copy on file.
          10/01/2015 Pre-trial set for 12/21/2015 at 8:30 in courtroom 1B.                                                                              UNASSIGNED


                                                                                     EXHIBIT C
1 of 2                                                                                                                                                        6/5/17, 10:38 AM
Vermilion County, IL | Case History                                                              http://judici.com/courts/cases/case_history.jsp?court=IL092015J&ocl=I...
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          09/30/2015 Case called for pretrial. State present by ASA Wiseman. Defendant present with PD Salazar. Defendant moves to               KEW
                     continue. State has no objection. Motion allowed. Case is reset, defendant given in court notice. Copy on file. (ddb)
          08/04/2015 Agreed Order to Vacate Order for Arrest Warrant to Issue filed.(bp) Pre-trial set for 09/30/2015 at 8:30 in courtroom 1B.   UNASSIGNED
          07/23/2015 Case called for pretrial. State present by ASA Beth Pfohl. Defendant fails to appear. PD Brakke present. Court orders       KEW
                     warrant to issue in the amount of $3,000 (10%).
          06/01/2015 OR Bond on file. (tb) Pre-trial set for 7/23/15 at 8:30 in courtroom 1B.                                                    UNASSIGNED
          05/29/2015 ARR: Deft. present in custody via video, sworn and advised of charges, rights, and penalties. Copy of information tendered UNASSIGNED
                     in open court. State present by ASA Pfohl. PD appointed with possible reimbursement. Financial affidavit on file. Order of
                     Appointment of PD on file. Deft. enters a plea of not guilty and case is set for Pre-Trial. Deft is to sign an anticapatory
                     waiver before she bonds. Deft given in court notice, copy on file. Deft. remanded to the custody of the sheriff in lieu of
                     $2,000(10%). Deft. ordered to have no contact with victim or no entry to victims residence. Deft. advised of in absentia
                     rights. Deft. ordered to report to the PD office immediately upon release. Pre-trial set for 7/23/15 at 8:30 in courtroom 1B.
                     Agreed ORDER to modify conditions of bond from being released on $2,000 10% to releasing deft on $2,000 OR on file.
                     Anticipatory extradition waiver filed.
          05/29/2015 Complaint filed on 05/29/2015. F/W DOB: 9/29/1987 CT I - THEFT UNDER $500 (CLASS A) D/O ON OR ABOUT THE                     UNASSIGNED
                     28th DAY OF MAY, 2015 IN CUSTODY Arraignment set for 05/29/2015 at 1:00 in courtroom 107.


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